 1   BRIAN E. WASHINGTON, COUNTY COUNSEL
     Brandon W. Halter, Deputy, SBN 289687
 2   3501 Civic Center Drive, Ste. 275
     San Rafael, CA 94903
 3   Tel.:(415)473-6117
     Fax: (415) 473-3796
 4   bhalter@marincounty.org

 5   Attorneys for Defendant
     COUNTY OF MARIN
 6
 7
                                      UNITED STATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
 9

10

11   SEAPLANE ADVENTURES , LLC, a California                   Case No.: 20-cv-06222-WHA
     Limited Liability Company
12                                                            DECLARATION OF CHIEF DEPUTY
                                                              COUNTY COUNSEL JENNA J. BRADY IN
13                  Plaintiff,                                SUPPORT OF DEFENDANT COUNTY OF
                                                              MARIN'S MOTION FOR SUMMARY
14          V.                                                JUDGMENT

15   COUNTY OF MARIN, CALIFORNIA; AND                          Complaint filed: September 2, 2020
     DOES 1 THROUGH 10, Inclusive,
16                                                             Date:      October 7, 2021
                                                               Time:      8:00AM
17                  Defendant.                                 Judge:     Honorable William Alsup
                                                               Dept:      Courtroom 12, 19th Floor
18

19

20          I, JENNA J. BRADY, declare as follows:

21           1.     I am employed by the County of Marin ("County") as the Chief Deputy County Counsel

22   in the Office of the County Counsel, attorneys ofrecord for County. I am licensed to practice law in

23   the State of California and before this court, and submit this declaration in support of the County's

24   motion for summary judgment. I have personal knowledge of the contents of this declaration, except as
25   to any matters stated on information and belief, and as to those matters, I am informed and believe the

26   to be true. If called as a witness, I could and would competently testify to the matters set forth in this

27   declaration.

28

        DECLARATION OF CHIEF DEPUTY COUNTY COUNSEL JENNA J. BRADY IN SUPPORT OF DEFENDANT
                        COUNTY OF MARIN ' S MOTION FOR SUMMARY JUDGMENT
                                    USDC Case No. 20-cv-06222-WHA
             2.      In 2020, County (through its Public Health Officer, Dr. Matthew Willis) issued a number

 2    of health orders and other guidance in response to the COVID-19 pandemic. In connection with my

 3    duties as the Chief Deputy County Counsel, I provided legal advice to County staff and departments

 4    regarding a range of issues related to the COVID-19 pandemic, including the health orders and other

 5    guidance issued by Dr. Willis. As a result, I was familiar with the terms of the health orders as they
 6    were issued.

 7           3.      I understand that County staff received an email on May 28, 2020 from a representative

 8    of Skydive Golden Gate, a recreational skydiving tour business operating out of Marin County Airport,

 9    inquiring as to whether the business could resume its operations under the terms of the health orders in

10    effect at that time. After I discussed this inquiry with Marin County Public Health Officer Dr. Matthew

11    Willis and others, I responded to the Skydive Golden Gate representative (Michael Knight) via email.

12    On June 19, 2020, Mr. Knight replied to my email, and on June 19, 2020, I sent Mr. Knight a further

13   response. A true and correct copy of the email chain containing these communications is attached
14    hereto as Exhibit 8.
15
16            I declare under penalty of perjury under the laws of the State of California that the foregoing is

17   true and accurate to the best of my knowledge

18          Executed on September 1, 2021 , in San Rafael, California.

19
20                                                        By:
                                                                    J~
21

22

23
24
25

26
27

28                                                        2

        DECLARATION OF CHIEF DEPUTY COUNTY COUNSEL JENNA J. BRADY rN SUPPORT OF DEFENDANT
                        COUNTY OF MARIN ' S MOTION FOR SUMMARY JUDGMENT
                                    USDC Case No . 20-cv-06222-WHA
EXHIBIT 8
From:            Brady, Jenna
To:              Michael Knight
Cc:              Albert, Tanya; Williams, Tony; Arnold, Judy
Subject:         Re: Plans to resume skydiving
Date:            Friday, June 19, 2020 11:21:20 AM



Mr. Knight,

At this time, only outdoor recreation is permitted and individuals inside a plane for
recreational activities is not permitted. Please note that the Seaplane Operations have also
been instructed to cease operations related to recreational activities.

Best,
Jenna




  


From: Michael Knight <info@skydivegoldengate.com>
Sent: Friday, June 19, 2020 11:08 AM
To: Brady, Jenna <JBrady@marincounty.org>
Cc: Albert, Tanya <TAlbert@marincounty.org>; Williams, Tony <TWilliams@marincounty.org>;
Arnold, Judy <JArnold@marincounty.org>
Subject: Re: Plans to resume skydiving

Hi Jenna,

I just spoke with Seaplane Adventures in Sausalito. They have been operating recreational
airplane tours since June 5th. You’re argument against individuals in an aircraft for
recreational purposes goes out the window with their operation.

This is overtly hypocritical and blatantly discriminating against skydiving, once again from
certain people within the county. The three years we spent fighting discrimination from airport
staff to open under the FAA grant assurances is still fresh in our minds. I understand certain
members of Marin County and the airport staff seem to have an issue with skydiving despite
our impeccable safety record and dedication to professionalism. We will not be chased out
under false pretenses, and we expect to be permitted to open immediately.

Regards,
Michael Knight


        On Jun 11, 2020, at 4:21 PM, Brady, Jenna <JBrady@marincounty.org> wrote:




                                                                                  COM008007
Hi Michael,

Sorry for the misinformation you were provided. At this time, the County of
Marin does not permit indoor recreational activities unless it is related to summer
camps for youth. Transportation, however, that is not recreational in nature was
deemed essential by the local Public Health Officer and the State at the start of
the Shelter In Place Order. If the flight school is related to essential travel, then
that may be how they are operating. For businesses that have individuals inside
the plane together and are for recreational purposes, this is not yet permitted by
the County. The County's public health team continues to review businesses that
may be opened safely and have a low risk of transmission and I have passed your
email onto that group for consideration.

Best,
Jenna




From: Albert, Tanya <TAlbert@marincounty.org>
Sent: Thursday, June 11, 2020 1:56 PM
To: Michael Knight <info@skydivegoldengate.com>
Cc: Williams, Tony <TWilliams@marincounty.org>; Arnold, Judy
<JArnold@marincounty.org>; Brady, Jenna <JBrady@marincounty.org>
Subject: RE: FW: Plans to resume skydiving

Hello Michael,

To clarify, County Counsel and the Public Health Director did not revoke a decision that
they previously made. My original response to you was an assumption/interpretation
of the Order that myself and Tony made. County Counsel and the Public Health
Director disagree.

I am copying a member of our County Counsel team, Jenna, on this email.

Jenna – Supervisor Arnold is hoping you can help answer Michael’s questions below.

Thank you,
Tanya

Tanya Albert
Aide to Supervisor Judy Arnold
3501 Civic Center Drive, Ste. 329
San Rafael, CA 94903
(415) 473-7371



                                                                                 COM008008
Stay In-the-Know During COVID-19
     ~Text "MARIN COVID" to 468311 to receive text message notifications
     ~Subscribe online to receive email notifications
     ~Visit the Marin HHS Coronavirus website for FAQs, case count, and a variety of
resources



From: Michael Knight <info@skydivegoldengate.com>
Sent: Thursday, June 11, 2020 1:37 PM
To: Albert, Tanya <TAlbert@marincounty.org>
Cc: Williams, Tony <TWilliams@marincounty.org>; Arnold, Judy
<JArnold@marincounty.org>
Subject: Re: FW: Plans to resume skydiving

Hi Tanya,

Obviously this is difficult news for us to hear. I know this isn't your decision, and I very
much appreciate your help through this process. What information did County Counsel
and the Public Heath Director receive that caused them to revoke our permission to
operate? I'd at least like to offer a rebuttal.

Can County Counsel or the Public Health Director explain why skydiving poses more of
a risk of COVID-19 than flight instruction, where pilots are contained shoulder to
shoulder inside a small aircraft talking continuously for an extended period of time?
Such flight instruction has been operating at Gnoss with no fight from the county and
no reported infections through the thick of the pandemic.

The safety of our staff and customers has always been our top priority, and it continues
to be through this pandemic. I'm very confident we can operate safely with mitigation
measures in place -- more mitigation measures than have been required of any of the
numerous currently operating skydiving businesses in the Bay Area. We take no issue
with meeting these rigorous standards. We would simply like to be given a fair
opportunity. I have attached a copy of our site-specific protection plan, and I'm happy
to discuss any further measures that would allow us to operate.

Kind regards,
Michael Knight
Skydive Golden Gate
415-770-4011

On Thu, Jun 11, 2020 at 11:54 AM Albert, Tanya <TAlbert@marincounty.org> wrote:

  Hello Michael –

  Our office has been informed that both County Counsel and our Public Health
  Director have determined that skydiving businesses are not able to operate under


                                                                                       COM008009
the County’s “outdoor business” guidelines, nor under any other of the Public Health
Order allowances.

I apologize that I have provided you with inaccurate information – which most
certainly is only adding the frustration and difficulty you are facing at this time.

Supervisor Arnold is working with County Counsel and our Public Health Director to
obtain some clarity on a timeline for you and has expressed her interest in allowing
this type of business to operate at this time. As soon as I have more information, I
will be in touch.

Again, I apologize for the inaccuracy of my previous correspondence with you.

Regards,
Tanya

Tanya Albert
Aide to Supervisor Judy Arnold
3501 Civic Center Drive, Ste. 329
San Rafael, CA 94903
(415) 473-7371

Stay In-the-Know During COVID-19
     ~Text "MARIN COVID" to 468311 to receive text message notifications
     ~Subscribe online to receive email notifications
     ~Visit the Marin HHS Coronavirus website for FAQs, case count, and a variety of
resources



From: Albert, Tanya
Sent: Wednesday, June 3, 2020 9:49 AM
To: info@skydivegoldengate.com
Subject: FW: Plans to resume skydiving

Hi Michael –

I haven’t been able to receive confirmation on if your business would have fallen
under “essential” under the original Order. But, our airport staff has confirmed for
me that you can operate under the updated Order which allows for outdoor
recreation/business. Please see below for link to guidelines (once on the page, scroll
down to “Outdoor Recreation Activity Business Guidelines”).

Also, please note that all businesses that are open during Shelter in Place are
required to complete a Site Specific Protection Plan. Details can be found here:
https://marinrecovers.com/agencies/guidelines-for-businesses/

Tanya Albert



                                                                                   COM008010
Aide to Supervisor Judy Arnold
3501 Civic Center Drive, Ste. 329
San Rafael, CA 94903
(415) 473-7371

Stay In-the-Know During COVID-19
     ~Text "MARIN COVID" to 468311 to receive text message notifications
     ~Subscribe online to receive email notifications
     ~Visit the Marin HHS Coronavirus website for FAQs, case count, and a variety of
resources



From: Williams, Tony <TWilliams@marincounty.org>
Sent: Wednesday, June 3, 2020 8:38 AM
To: Albert, Tanya <TAlbert@marincounty.org>; Jensen, Dan
<DJensen@marincounty.org>
Subject: RE: Plans to resume skydiving

Hi Tanya,
In general we have avoided making these determinations but in this case it is pretty
straight-forward and YES they can resume per recent Health Orders. Here is
guidance for their type of business:
https://marinrecovers.com/parks-outdoor-recreation/

I am seeking clarification about the required Site-specific Protection Plan (SPP)
through the ADMINDOC on whether or not we (the County) needs to review it or
keep it on file.

Tony Williams, PE, QSD
Assistant Director
Department of Public Works
415.473.6432 T


From: Michael Knight <info@skydivegoldengate.com>
Sent: Thursday, May 28, 2020 7:11 PM
To: Albert, Tanya <TAlbert@marincounty.org>
Subject: Plans to resume skydiving

Hi Tanya,

I hope this message finds you well.

We have been working on a plan to resume skydiving operations at Gnoss, and I'm
confident we can resume operations safely in the near future. I'm wondering if you
can point me in the right direction if we need to talk to someone about reopening. I
want to make sure we are complying with county regulations and won't be told by


                                                                                 COM008011
  airport staff that we need to close our doors and cancel on customers once we have
  reopened.

  I know flight schools have been in operation at Gnoss for at least six weeks. As I
  understand it, flight training is considered an essential business. In multiple Bay Area
  counties, tandem skydiving operations have continued throughout the shutdown
  under the umbrella of flight training. We chose to close in early March holding the
  safety of our staff and customers as our highest priority, but feel with the proper
  mitigation measures, skydiving can be practiced as safely as flight training. Even
  though we feel we could reopen safely now, we are looking to a June 13th start date.

  If it helps, here are just a few of our plans when our doors do open:
  - Masks (in particular buffs, which will stay on throughout a skydive) will be required
  for staff and customers at all times. If a customer does not have an adequate face
  covering, we will require they purchase one from us.
  - All customer activities (waiting, gear up, waivering, etc) will be moved outdoors and
  spaced six feet apart.
  - We will display signs explaining social distancing, hand washing and face covering.
  - We will disinfect our office and any objects touched by customers (pens, clip
  boards, etc) between each use.

  I appreciate any direction you're able to provide.

  Best regards,
  Michael

  --
  Michael Knight
  Skydive Golden Gate
  415-770-4011
  info@skydivegoldengate.com




  Email Disclaimer: https://www.marincounty.org/main/disclaimers




--
Michael Knight
Skydive Golden Gate
415-770-4011
info@skydivegoldengate.com




                                                                                  COM008012
Email Disclaimer: https://www.marincounty.org/main/disclaimers




                                                                 COM008013
